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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE TIMOTHY M. REIF, JUDGE




       GoPro, Inc.,
                                        Plaintiff,
                                                                    Court No. 20-00176
            v.

       United States,
                                         Defendant.


                                     JUDGMENT ORDER

       Plaintiff having moved for summary judgment pursuant to Rule 56 of the Rules of this

Court, and defendant having responded to said motion, it is hereby

       Upon consideration of the motions for summary judgment filed by Plaintiff GRK

Canada, Ltd., concerning the classification of certain Camera Housings, and all other papers

filed in this action, and upon due deliberation, it is hereby

       ORDERED that Plaintiff’s motion for summary judgment is granted; it is further

       ORDERED that Plaintiff is entitled to judgment that the subject merchandise is

properly classifiable in subheading 8529.90.8600, HTSUS, at the duty-free rate, it is further

       ORDERED that the Defendant reliquidate the entries covered by this action with a

refund of all duties overpaid, plus interest, as provided by law.



                                                     __________________________

                                                         Timothy M. Reif, Judge


DATED: New York, NY

           This ___ day of ___ , 2022
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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE TIMOTHY M. REIF, JUDGE


      GoPro, Inc.,
                                        Plaintiff,
                                                                    Court No. 20-00176
            v.

      United States,

                                        Defendant.


                 PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

         Pursuant to Rule 56 of the Rules of this Court, Plaintiff hereby moves for summary

judgment. This Motion is supported by the declarations, separate statement of uncontested

facts, exhibits, samples of the imported merchandise, as well as the Plaintiff’s brief in support.

         For the reasons set out therein, Plaintiff submits that the merchandise which is the

subject of this action is properly classified under subheading 8529.90.1960 of the Harmonized

Tariff Schedule of the United States (“HTSUS”), duty free.

         WHEREFORE, Plaintiff asks that judgment be granted in its favor; and that the

appropriate official of U.S. Customs and Border Protection be directed to reliquidate the entries

subject to this action, classifying the action camera housings under subheading 8529.90.1960,

HTSUS, and to refund to Plaintiff the excess duties collected, together with interest, as

provided by law.

Dated:       August 1, 2022                          Respectfully submitted,

                                                     /s/ Alena A. Eckhardt
                                                     Alena A. Eckhardt
                                                     Matt Nakachi
                                                     JUNKER & NAKACHI, P.C.
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                                                     San Francisco, CA 94111
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                                                     alena@tradelawcounsel.com
                                                     Counsel for Plaintiff, GoPro, Inc.


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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on August 5, 2022, she served a copy of the PLAINTIFF

GOPRO, INC.’S MOTION FOR SUMMARY JUDGMENT, DECLARATION OF

COUNSEL, EXHIBITS AND MEMORANDUM IN SUPPORT OF MOTION FOR

SUMMARY JUDGMENT upon the Defendant United States, via the U.S. Court of

International Trade’s CM/ECF System:

Edward F. Kenny
Senior Trial Counsel
U.S. Department of Justice
Commercial Litigation Branch
Int’l Trade Field Office
26 Federal Plaza, Room 346
New York, NY 10278

       Physical samples of the imported merchandise and demonstrative exhibits were

previously provided to the Defendant United States at the address listed above.

                                                                   /s/ Alena A. Eckhardt
                                                                   Alena A. Eckhardt




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     A      Physical Samples 1-11

     B      Product Booklet

     C      Marketing Materials

     D      Defendant’s Responses to First Set of Interrogatories

     E      Deposition of Matthew D. Thomas

     F      Deposition of Edward Russell

     G      Deposition of Scot Briggs

     H      Deposition of Suzanne Kingsbury

     I      May 3, 2013 Ruling NY N240464

     J      May 22, 2017 Request for Reconsideration

     K      July 5, 2018 Proposed Revocation of Classification Rulings)

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     N      Declaration of Expert Edward Russell

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     P      Excerpts from Focal Encyclopedia of Photography

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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE TIMOTHY M. REIF, JUDGE


      GoPro, Inc.,
                                       Plaintiff,
                                                                 Court No. 20-00176
           v.

      United States,

                                       Defendant.

     MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR
                     SUMMARY JUDGMENT


       Plaintiff, GoPro, Inc. (hereinafter “Plaintiff” or “GoPro”), respectfully moves this Court

for summary judgment, pursuant to Rule 56 of the Rules of this Court and submits the following

memorandum of law in support thereof.

                                     INTRODUCTION

       This test case involves the tariff classification of camera housings (collectively,

“Camera Housings”) that are designed for use with the GoPro’s line of HERO 3, HERO 3+,

HERO 4 and HERO 5 Black action cameras. Plaintiff’s Statement of Uncontested Material

Facts (“SUMF”) 8.

       Based in San Mateo, California, GoPro is a pioneering technology company, which

designs and manufactures the innovative digital camera systems known as “action cameras”

for hands-free video recording of extreme activities, such as surfing, deep-water diving,

motorcycling skydiving, skateboarding, off-roading, etc. from perspectives never before

possible and in a way that traditional cameras or phone cameras cannot. SUMF 9, 10.

       To accomplish action camera footage, the GoPro HERO action camera is designed

within a comprehensive system that includes digital cameras, camera housings, and numerous

types of specialized mounts. SUMF 11. The waterproof and ruggedized housing encloses the




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action camera and enables the consumer to mount the camera onto themselves or onto

equipment, and then to operate the camera while engaged in an extreme activity. SUMF 12.

The earlier models of the GoPro HERO action camera are not durable, waterproof, or

mountable by itself. SUMF 14. The Camera Housings are therefore functionally indispensable

to the operation of the GoPro camera during hands-free video recording in different extreme

environments – the raison d’être of the action camera. SUMF 13.

       Relentlessly innovative, GoPro has been granted many U.S. patents for its camera

housings and mounting assemblies. GoPro has over 500 employees in the United States.

                                 SUBJECT MERCHANDISE

       The imported merchandise at issue are the Camera Housings for the GoPro HERO

action cameras imported by GoPro from October 2018 to February 2019. SUMF 8(a)-(f),

Comp. Ex. A1-A5 (physical samples). 1 The Camera Housings are made out of a polycarbonate

(SUMF 18), bespoke to a single electronic device (the HERO action camera) (SUMF 16), and

most incorporate the following functional features:

       Waterproof: The housing is waterproof up to 40 or 60 meters below the surface of the
       water; the camera itself is not waterproof and unable to operate underwater without the
       housing. SUMF 8, 14, 27.

       Spring-loaded function buttons: The housing incorporates spring-loaded buttons which
       allow for the operation of all action camera controls. If not for the springs, the buttons
       could be activated when underwater at compression depths. The spring-loaded buttons
       mate to the corresponding buttons on the camera within. SUMF 20.

       Functional heat sink: The aluminum heat sink of housing is designed to draw heat
       away from the camera within during filming. This protects the camera from damage
       due to overheating. The heat sink of the housing mates to a similar aluminum heat
       exchange rink located around the lens of the action camera. SUMF 25.

       Flat optical glass assembly: The flat optical glass assembly is treated with coatings
       which impart anti-fog, anti-glare, UV-resistant, and water-repellant features to facilitate
       action camera videography. SUMF 19.


1
  In subsequent generations of HERO action cameras (beginning with the HERO5) GoPro was able to
integrate the functionality of the camera housings into the body of its action cameras. SUMF 15. The
physical sample of the subsequent HERO9 action camera, released in 2020, is submitted to the Court
as an example of this “integrated” housing. Id.


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        Universal two-to-three fingers mounting system with a screw-style closure: The
        mounting system at the base of the housing allows camera use with the wide-variety of
        action camera mounts and accessories. The camera itself is not capable of being
        interfacing with the mounts without the housing. SUMF 24.

        Silicon gaskets: The gaskets of the housing prevent water seepage and withstands water
        pressure at depth. SUMF 28.

        Foam strip: A thin layer of foam is affixed to the inner rear door. This is not a protective
        padding, but rather ensures a tight fit for the purpose of preventing the rattling of the
        camera within. SUMF 21.

                          THE TARIFF PROVISIONS AT ISSUE

        U.S. Customs and Border Protection (“CBP”) classified the Camera Housings under

subheading 4202.99.9000, Harmonized Tariff Schedule of the United States (“HTSUS”):

4202        Trunks, suitcases, vanity cases, attaché cases, briefcases, school satchels, spectacle
            cases, binocular cases, camera cases, musical instrument cases, gun cases,
            holsters and similar containers; traveling bags, insulated food or beverage bags,
            toiletry bags, knapsacks and backpacks, handbags, shopping bags, wallets, purses,
            map cases, cigarette cases, tobacco pouches, tool bags, sports bags, bottle cases,
            jewelry boxes, powder boxes, cutlery cases and similar containers, of leather or of
            composition leather, of sheeting of plastics, of textile materials, of vulcanized fiber
            or of paperboard, or wholly or mainly covered with such materials or with paper:

                                                 * * *

4202.99         Other:

            Of materials (other than leather, composition leather, sheeting of plastics, textile
            materials, vulcanized fiber or paperboard) wholly or mainly covered with paper:

                                                 * * *

4202.99.9000                  Other . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20% ad valorem

HTSUS 4202.99.0000 (2018, 2019) (emphasis added).

        GoPro contends that the classification of the Camera Housings in subheading

4202.99.9000, HTSUS, is incorrect, and the products instead should be classified under

heading 8525, within subheading 8529.90.86, HTSUS:

8529        Parts suitable for use solely or principally with the apparatus of headings 8524 to
            8528:

                                                 * * *


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8529.90         Other:

* * * *

8529.90.86                     Other . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . free

HTSUS 8529.90.86 (2018, 2019) (emphasis added).

        Alternatively, the subject merchandise should be classified in subheading

3926.90.9980:

3926       Other articles of plastics and articles of other materials of headings 3901 to 3914:

                                                   * * *

3926.90          Other:

                                                   * * *

        3926.90.99                       Other . . . . . . . . . . . . . . . . . . . . . . . .. . 5.3% ad valorem

HTSUS 3926.90.9980 (2018-2019) (emphasis added).

                     THE QUESTION PRESENTED FOR DECISION

        Whether functional GoPro Camera Housings are classifiable as “camera cases” or

“similar containers” in heading 4202, HTSUS (duty rate of 20 percent ad valorem), or whether

they are properly classifiable as “parts suitable for use solely or principally with digital cameras

of heading 8525” per subheading 8529.90.86, HTSUS (duty free rate). Alternatively, whether

the Camera Housings may be classifiable as “other articles of plastics”, per subheading

3926.90.9990, HTSUS (5.3 percent ad valorem).

                             SUMMARY OF THE ARGUMENT

        The identity of the imported articles at issue in this action is not in dispute. They are

plastic camera housings designed for exclusive use with the GoPro HERO action cameras.

Physical samples of most of the housings at issue have been submitted to the Court. No dispute

exists as to what the imported merchandise is, so the issue is whether these Camera Housings

are classifiable in heading 4202, or should be properly classified in heading 8529, and more




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specifically in subheading 8529.90.86, HTSUS, or, alternatively, in heading 3926, and more

specifically in subheading 3926.90.99, HTSUS.

       The record evidence, including uncontroverted expert testimony and the undisputed

nature of the products at issue, demonstrate that the Camera Housings are neither eo nomine

“camera cases” nor “other containers” of heading 4202, HTSUS. Unlike every single exemplar

listed in the heading and every type of product that has been classified in the heading through

both eo nomine and ejusdem generis analyses, the Camera Housings do not share the

characteristics and the primary purpose which unite the exemplars of heading 4202: the ability

to store, organize, carry, and protect.

       The Camera Housings are not designed (1) to meet the needs of long-term storage, (2)

nor to organize multiple items during storage, nor (3) to carry items, nor (4) to effectively

protect for storage. The Camera Housings are principally a functional design that is intended

for a use which is integral to the premise of hand-free action camera footage. The device is

solely used with the GoPro HERO action cameras and provides a functionality which the

GoPro HERO action cameras lack on their own. Furthermore, none of the exemplars listed in

heading 4202 functions with, controls, and adds features to an item while that item is in use.

       These facts distinguish the Camera Housings from scope of the exemplars listed in the

heading 4202, HTSUS. Accordingly, the products at issue are neither eo nominee “camera

cases”, nor are they “similar containers” within the meaning of the heading, and per GRI 1,

they are precluded from classification therein.

       Because CBP’s classification of the subject merchandise in heading 4202, HTSUS, is

improper, the articles instead should be classified in heading 8529, HTSUS, which provides

for, inter alia, “parts” suitable for use solely or principally with digital cameras of heading

8525. The camera housing is an integral part of the GoPro action camera. Heading 8525,

HTSUS, includes “digital cameras,” which category includes digital cameras with both video



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and still image capability, like the HERO action camera. Sony Electronics, 37 C.I.T. 1748

(2013). Therefore, articles that are considered “parts” for such a digital camera are properly

classified under heading 8529, HTSUS. Alternatively, in heading 3926 as “other articles of

plastics.”

                                        ARGUMENT

I.      The Court Has Subject Matter Jurisdiction

        The Court has exclusive jurisdiction over all civil actions commenced under 19 U.S.C.

§ 1515 to contest protests denied by Customs, 28 U.S.C. § 1581(a), and reviews such actions

de novo. 28 U.S.C. § 2640(a)(1). The Court has jurisdiction over this litigation because the

subject matter of this case is the properly protested classification decision by CBP which

applies to the entire transaction value of the subject entries. SUMF 4-5. GoPro timely

commenced this action within 180 days of the date of denial of the protest against the housings

entries entered in 2018 and 2019. SUMF 6. GoPro paid all liquidated duties on the subject

entries before commencement of this action in accordance with 28 U.S.C. § 2673(a). SUMF

7.

II.     The Legal Standard

        The court will grant summary judgment when “the pleadings, discovery and disclosure

materials on file, and any affidavits show that there is no genuine issue as to any material fact

and that the movant is entitled to judgment as a matter of law.” USCIT Rule 56(c); Celotex

Corp. v. Catrett, 477 U.S. 317, 223 (1986).

        A classification decision entails a two-step analysis. First, the court determines the

proper meaning of the specific terms in the tariff provision, a question of law. Link Snacks,

Inc. v. U.S., 72 F. 3d 962, 965 (Fed. Cir. 2014). Second, the court determines whether the

subject merchandise properly falls within the description of such terms, a question of fact. Id.




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Where no genuine “dispute as to the nature of the merchandise [exists], the two-step

classification analysis collapses entirely into a question of law.” Id. at 965-966.

       In resolving such a motion for summary judgment, this Court need not defer to the

CBP’s final classification determination 2 given that the rulings are only afforded a measure of

deference proportional to their power to persuade. U.S. v. Mead Corp., 533 U.S. 218, 234-35

(2001)(citing to Skidmore v. Swift & Co., 323 U.S. 134, 140 (1944) (“Skidmore”). More

specifically, “the degree of deference depends on the thoroughness evident in the classification

ruling; the validity of the reasoning that led to the classification; consistency of the

classification with earlier and later pronouncements; the formality with which the particular

ruling was established; and other factors that supply a ‘power to persuade.’” Warner-Lambert

Co. v. U.S., 407 F.3d 1207, 1209 (citing to Skidmore, 323 U.S. at 140). And “[a] lack of

consistency indicates that Customs has not thoroughly considered a particular classification

and undermines the persuasive power of its conclusions.” Sony Electronics, Inc., 37 C.I.T.

1748, 1754-1755 (2013).

       Here, since the CBP’s final classification ruling HQ H287090 (a) does not comport

with the body of its own rulings and previous proposed determination, (b) withholds deference

to judicial precedents, (c) fails to exercise reasonableness by failing to employ proper eo

nomine and ejusdem generis analyses and disregarding common and commercial meaning of

the named exemplar, HQ H287090 is neither persuasive, nor entitled to Skidmore deference.

This Court “has been tasked by Congress to conduct a de novo review, and to determine the




2
  Customs administrative rulings were published in, Customs Bulletin and Decisions, Vol. 52, No. 27,
July 5, 2018 (“Proposed Revocation of Three Ruling Letters, Proposed Modification of One Ruling
Letter, and Revocation of Treatment Relating to the Tariff Classification of Rigid Molded Plastic
Waterproof Camera Housing”); and in Customs Bulletin and Decisions, Vol. 53, No. 14, May 8, 2019
(“Withdrawal of Proposed Revocation of Three Ruling Letters, Proposed Modification of One Ruling
Letter, and Proposed Revocation of Treatment Relating to the Tariff Classification of Rigid Molded
Plastic Waterproof Camera Housing”).


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correct classification based on the record made before it.” Id. at 493; Jarvis Clark Co. v. U. S.,

733 F.2d 873, 878 (Fed. Cir. 1984); 28 U.S.C. §2640(a).

         Summary judgment in a classification action is particularly appropriate where, as here,

“there is no genuine dispute as to the underlying factual issue of exactly what the merchandise

is.” Bausch & Lomb, Inc. v. U.S., 148 F.3d 1363, 1365 (Fed. Cir. 1998). No dispute exists

that the merchandise at issue are camera housings bespoke to a single functional GoPro action

camera. The only open issue for the Court is to determine the proper meaning, scope, and

interpretation of the relevant tariff provisions. As detailed in this brief and related supporting

materials, the CBP’s classification of the Camera Housings in heading 4202, HTSUS, is

improper, and the articles instead should be classified in heading 8529, or alternatively, in

heading 3926. Accordingly, GoPro is entitled to summary judgment as a matter of law.

III.     The Camera Housings Are Not Classifiable in Heading 4202, HTSUS

         The starting point for every classification case is the tariff schedule itself. The Court

should begin its inquiry by consulting the HTSUS General Rules of Interpretation (“GRI”). 3

Carl Zeiss, Inc. v. U.S., 195 F.3d 1375, 1379 (Fed. Cir. 1999). Under GRI 1, classification is

determined according to the terms of the headings and any relevant section or chapter notes. 4

         A.     Heading 4202, HTSUS, and Its Requirements

         Heading 4202, HTSUS, contains both specifically named categories of products as well

as residual provisions for “similar containers.” The heading covers two separate categories of

goods:

         (1)   trunks, suitcases, vanity cases, attaché cases, briefcases, school satchels, spectacle
               cases, binocular cases, camera cases, musical instrument cases, gun cases,
               holsters and similar containers; and


3
 The tariff classification of merchandise entering the United States is governed by the GRIs, which are
applied in numerical order. Merchandise is first to be classified under the appropriate four-digit
heading; only once the appropriate heading has been established may the subheading be considered.
4
 In the event that the merchandise cannot be classified solely on the basis of GRI 1, and the headings
and legal notes do not otherwise require, the remaining GRI 2 through 6 are then applied in order.


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       (2)   traveling bags, insulated food or beverage bags, toiletry bags, knapsacks and
             backpacks, handbags, shopping bags, wallets, purses, map cases, cigarette cases,
             tobacco pouches, tool bags, sports bags, bottle cases, jewelry boxes, powder
             boxes, cutlery cases and similar containers, of leather or of composition leather,
             of sheeting of plastics, of textile materials, of vulcanized fiber or of paperboard,
             or wholly or mainly covered with such materials or with paper.

       “The semicolons in HTSUS headings ‘create a wall around each grouping of items,

preventing the qualifying language from one grouping from applying to another.’”

Photonetics, Inc. v. U.S., 659 F. Supp. 2d 1317, 1325, n. 7 (C.I.T. 2009). It is undisputed that

the subject merchandise is not made from the materials listed in the second category (i.e.,

leather, composition leather, sheeting of plastics, textile materials, vulcanized fiber or

paperboard); therefore, the only way it can be classified in heading 4202, HTSUS, is if they

were determined to be “camera cases” or “similar containers” to the exemplars listed with the

first category. Therefore, both eo nominee and ejusdem generis criteria will be applied to

determine whether the Camera Housings can be classified in the first section of heading 4202,

HTSUS.

       The conclusion that the Camera Housings are neither eo nomine “camera cases” nor

ejusdem generis “similar containers” of heading 4202, HTSUS, is supported by the HTSUS

headings with accompanying legal notes, the common and commercial meaning of the term

“camera cases,” as evidenced by the lexicographic sources, uncontradicted expert testimony

and legislative history, as well as prior decisions of this Court and previous CBP classification

decisions.

       B.      The Camera Housings are Not Classifiable Eo Nomine as “Camera Cases”
               in Heading 4202, HTSUS

       An eo nominee provision describes goods according to their specific name, usually well

known in commerce. Nidec v. U.S., 68 F.3d 1333, 1336 (Fed. Cir. 1995). Absent limiting

language or contrary legislative intent, an eo nominee term includes all forms of the named

article. Nidec, 68 F. 3d at 1336. An eo nomine analysis determines the common meaning of a




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specific listed exemplar in a HTSUS heading. Id.; see also Deckers Corp. v. U.S., 752 F.3d

949, 957 (Fed. Cir. 2014) (an eo nomine provision in the tariff law is what the commonly

accepted meaning of the term happens to be, and where such common meaning is easily and

clearly determined through judicial decisions and reports to Congress on the subject by

recognized authorities, such fundings presumptively include the commercial as well as the

common meaning) (internal citation omitted.)

       1.     “Camera Housings” Are Not “Camera Cases,” as Either Term is Commonly and
              Commercially Understood

                                      “Camera Case”

       The term “camera case” is a commercially recognized construct of two words that is

not defined in the tariff. Where, as here, the HTSUS does not expressly define a term, “the

correct meaning of the term is its common commercial meaning.” GRK Canada, Ltd. v. U.S.,

761 F.3d 1354, 1357 (Fed. Cir. 2014) (“GRK Canada”) (citation omitted); see also Otter

Products, LLC v. U.S., 834 F.3d 1369, 1375 (Fed. Cir. 2016) (“Otter Products CAFC”)

(“[a]bsent contrary legislative intent, we construe HTSUS terms according to their common

and commercial meanings, which we presume are the same.”) To determine the common

commercial meaning, a court may rely upon its own understanding of terms used, and may

consult standard lexicographic and scientific authorities, dictionaries, and other reliable

information sources. Id. Here, the dictionary definitions, uncontradicted expert testimony

regarding commercial meaning of the term in camera industry, as well as previous CBP rulings

and legislative history, all compel the conclusion that the Camera Housings are not eo nomine

“camera cases.”

                      a)     Lexicographic Sources

       The Focal Encyclopedia of Photography defines “camera case” as follows:

       CASE, CAMERA A container for storage and transport of a camera, sometimes
       with associated equipment. To retain their performance with the necessary
       precision, cameras and their accessories need protection while being stored,


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       transported, and used, especially in the field. Thus, since the inception of
       photography, camera cases have been important to the photographer.

       The most utilitarian form of case is that intended for professional cameras and
       equipment. Such cases are generally of a boxlike form with a plain hinged cover
       and constructed of wood, leather, plastic, or metal. Compartments and padding
       are usually provided for protection against damage from dropping or other
       physical abuse. Because considerable weight may be involved, cases are often
       reinforced at the corners, and are provided with a carrying handle, or handles if
       excessively large. Cases for aerial cameras, for instance, may be more like large
       trunks.

       Cases intended for modern hand cameras, such as the 35-mm format, are
       constructed of leather or plastic and are designed to provide good protection for
       the equipment without being uncomfortable to carry or inviting attention. Some
       are designed to retain the cameras by means of a screw that attaches the bottom
       of the case to the tripod socket. In turn, this screw may itself be tapped to accept
       a tripod screw so that the camera and its case can be attached to a tripod. Other
       cases retain the camera by means of short leather snap retainers. The flap
       protecting the lens should be arranged so that there is little likelihood of its
       flopping into the field of view, and on some cases this flap can be detached.
       Larger flaps, or snouts are available to cover longer focal length or zoom lenses.
       Shoulder straps are fitted for easier carrying, and small cases for spare rolls of
       film are often strung on these straps.

       Some cases are designed to hold additional lenses, film, and an exposure meter
       or other camera accessories in addition to one or more cameras. Such cases are
       usually of more rigid construction and both halves of the top may open out to
       permit ready access to the equipment. Cases for extended field use tend to be
       more of a rugged construction than those to be used by amateur photographers.

       Many cases are designed with adjustable compartments so that photographers
       can customize them to their particular assembly of equipment and accessories.

       Well fitted soft leather pouches sometimes serve to protect small cameras,
       lenses, or exposure meters from dust, moisture, or the effects of handling.

       The need for a separate camera case has been reduced with some small-format
       cameras that have attached but movable covers over the lens and other parts of
       the camera.

       Focal Encyclopedia of Photography (3rd Edition 1993), at pp. 90-91 (emphasis added).

See Ex. P.

       Five points are salient: the “camera cases” (i) are for the storage and transport of a

camera with its associated equipment; (ii) are designed to hold additional lenses, film, and an

exposure meter or other camera accessories in addition to one or more cameras; (iii) come with



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adjustable compartments to organize equipment and accessories; (iv) come with carrying

straps; and (v) have padding for protection against damage from dropping or other physical

abuse.

                       b)      Denomination of the Trade

         Uncontroverted expert testimony shows that the Focal Encyclopedia’s definition of

“camera case” is consistent with the use of the term in modern commerce. The modern camera

industry recognizes a “camera case” as involving four elements: it must protect, store, organize

and transport a camera/cameras and their parts, and/or common accessories (i.e., lenses, filters,

flashes, lens cleaners). SUMF 39, Ex. N, Expert Decl., par. 8.

         What the industry commonly recognizes as a “camera case” is designed, merchandised,

and expected to be used in a manner akin to luggage, and items that are stored within are not

in use during storage. SUMF 40, Ex. N, Expert Decl., par. 9, 16, 25.

         Camera cases are typically “soft-sided” or “hard-sided”. SUMF 41, Ex. N, Expert

Decl., par. 10. Camera cases are designed to protect delicate cameras and lenses from drop,

dust, dirt, debris and damage from sun light, humidity and temperature extremes between

shoots and are typically made from polyester/nylon exterior fabric, non-scratch lining,

zippers/closures (soft-sided camera cases) or fiberglass-filled nylon or similar plastic materials

(hard-sided cases) and feature foam padding on exterior walls and between compartments.

SUMF 42, Ex. N, Expert Decl., par. 14, 23.

         Camera cases are specifically designed to provide a long-term storage solution for

cameras, parts, and accessories between shoots. SUMF 43, Ex. N, Expert Decl., par. 15, 24-

25.

         Camera cases are designed to organize cameras, parts, and accessories in-between uses

by using customized grid of padded dividers to separate and protect these elements as they are

subject to damage if they come into even moderate unintended contact with each other. SUMF



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44, Ex. N, Expert Decl., par. 17-19, 26. Cameras are powered down during storage and

therefore organization in a camera case prevents accidental activation of power and filming

buttons. SUMF 44, Ex. N, Expert Decl., par. 18.

          Camera cases are designed to transport cameras, parts, and accessories between shoot

locations and while traveling to a destination and thus feature carrying straps, handles, and

sometimes wheels. SUMF 45, Ex. N, Expert Decl., par. 20-21, 27.

          The camera and camera accessories are not functional while stored in the camera cases;

they remain stored until their next use. SUMF 46, Ex. N, Expert Decl., par. 16, 25.

          GoPro designed and manufactured the GoPro CASEY Camera Case to protect, store,

organize, and transport GoPro cameras, housings, lens, and various accessories. SUMF 47,

Comp. Ex. A6 (physical sample), Ex. N, Expert Decl., par. 6. The GoPro CASEY is uniformly

recognized in the industry as a soft-sided camera case. SUMF 48, Ex. N, Expert Decl., par.

28, 29.

                        c)      Earlier Decisions by the CBP


          The earlier rulings from CBP regarding classification of “camera cases” have been

consistent with their commercial meaning in the industry. In NY N237453, dated February 6,

2013, the CBP classified a camera case designed to provide organization, storage, portability,

and protection to a digital camera as a “camera case” in subheading 4202.99.00, HTSUS. In

N208448, dated April 3, 2012, the CBP classified a camera case in subheading 4202.99.00,

HTSUS, stating, “[t]he case is not considered to be a part of the camera as it does not contribute

to the function of the camera itself”). In N0447863, dated January 8, 2009, the CBP classified

a camera case with a main compartment, mesh pocket, shoulders straps, and a hook-and-loop

flap closure as a “camera case” in subheading 4202.99.00, HTSUS. The Government’s

position in the present action is therefore inconsistent with these prior rulings (Ex. D,

Government’s Responses to First Set of Interrogatories, Nos. 1-4). Even more so considering


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that CBP has advocated against classification of the “camera housings” as the “camera cases”

and has been aware that the physical and functional characteristics of the camera housings

substantially differ from those attributed to “camera cases.” SUMF 53, Ex. K.

                       d)      Congressional Intent

       The Congressional intent has always been that the listed exemplars in the heading 4202,

especially in the first category, constitute “travel goods.”

       This notion is evidenced by the history of the tariff itself. Additional U.S. Note 1 to

Chapter 42 states that Heading 4202 covers goods “of a kind designed for carrying clothing

and other personal effects during travel” (emphasis added) while clarifying that “binocular

cases, camera cases, musical instrument cases, bottle cases and similar containers” are not

designed for clothing and person effects.

       The current title of Chapter 42 directly describes the relevant scope of the chapter as

relating to “travel goods, handbags and similar containers”; while Note 2(h) to Chapter 48 also

refers to the articles of Heading 4202 as “for example, travel goods.”

       It is important to note that these requirements for the exemplars did not come to the

Federal Circuit out of thin air, but rather, are rooted in the history of the TSUS and the HTSUS

themselves. Under the TSUS, Headnote 2(a)(ii) provided that the term “luggage” covered,

inter alia, brief cases, school bags, golf bags, camera cases and “like containers and cases

designed to be carried with the person...” Aladdin Int’l Corp. v. U.S., 13 C.I.T. 1038, 1043

(1989). The Aladdin court also held of such luggage and travel goods, that “[i]t would appear

that items falling under this interpretation of travel would need to be sturdy enough to withstand

rough handling” …and that accordingly, the clear intent in enacting this provision was to

encompass such travel goods as are primarily used for travel. The Aladdin court cited DRI

Industries, Inc. v. U.S., 657 F. Supp. 528, 533 (C.I.T. 1987), for the proposition that carrying

is part of travel as in “to be carried with the person from place to place or job to job, around or



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outside the home.” Hence, in Camera Specialty, leather “camera cases” were specifically

leather items that added no functionality to the cameras, covered the lens with a protective flap,

and which had “no other practical use” than to carry cameras. Camera Specialty, Inc. et al. v.

U.S., 37 Cust. Ct. 144, 146 (1956).

       The linkage from this language originating in the TSUS is reinforced by the TSUS-

HTSUS Correlation tables 5 which show that current HTSUS subheading 4202.99, originated

from its predecessor TSUS provisions which also described various types of luggage (i.e.,

travel goods). Specifically, the predecessor subheading 706.62.45, Tariff Schedule of the

United States (“TSUS”), described, “[b]riefcases, school bags, photographic, equipment bags,

camera cases, occupational luggage cases and like containers and cases designed to be carried

with the person, provided for in subpart D, headnote 2(a)(ii)”.

       The definition most applicable to heading 4202 articles therefore may have been taken

from the synonym “luggage,” or “baggage”. Per the Oxford Dictionary, a “case” as “an item

of luggage; a suitcase”, with synonyms such as: briefcase, attaché case, trunks, and chests. See,

Eckhardt Decl. ¶ 18, Ex. Q.

                                      “Camera Housing”

       By contrast, the camera industry distinguishes the class of goods described as “camera

housings” from those referred to as “camera cases,” and recognizes that camera housings are

different commercial articles with different purposes from camera cases.

       In relation to underwater photography, industry’s lexicographic sources specifically

describe functional waterproof “housings” (and not “camera cases”):

       UNDERWATER CAMERA Underwater photography can be done three ways using
       different types of camera systems. A photographer can use a general camera that is
       placed in a special water-tight housing made from either plastic or aluminum and

5
  See, “Continuity of Import and Export Trade Statistics After Implementation of the Harmonized
Commodity Description and Coding System, Report to the President on Investigation No. 332-250
Under Section 332 of the Tariff Act of 1930,” USITC Publication 2051, page 2954 (United States
International Trade Commission, January 1988).


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       constructed to operate to only a specific depth. All of the normal functions of the
       conventional camera are attached to an extension apparatus that passes through the
       outside of the housings to allow the diver access to some of the controls.

       Focal Encyclopedia of Photography (3rd Edition 1993), at p. 86 (emphasis added). See,

Ex. P, Excerpts from Focal Encyclopedia.

       In other words, the camera industry recognizes that unlike camera cases, housings are

functional devices that are principally designed to be used with the camera, during active

filming. In fact, as uncontroverted expert testimony shows, the camera industry develops and

markets camera cases as storage and organizational solution for cameras, camera housings, and

accessories. SUMF 47, 48, Ex. N, Expert Decl., par. 4, 6, 28, 29. To the contrary, the camera

housings are not considered storage or organizational solution by the industry. SUMF 35, Ex.

N, Expert Decl., par. 46.

       Accordingly, the Camera Housings are not eo nominee “camera cases” as commonly

and commercially understood.

       2.      The Camera Housings Do Not Possess the Essential Characteristics Uniting the
               Listed Exemplars in Heading 4202

       Absent limiting language or contrary legislative intent, eo nominee ordinarily includes

all forms of the named article; however, eo nomine designation are not open ended and are

limited by legislative intent and by judicial decisions. Deckers, 752 F.3d at 957 (internal

citation omitted). As the Customs Court, the predecessor of the Court of International Trade,

has held, if a named exemplar is limited by other language in the tariff provisions or legislative

history, “the eo nomine analysis will only include articles that possess the essential

characteristics of the specially named or enumerated article.” Id. (Internal citation omitted.)

       On numerous occasions the Federal Circuit has examined the heading 4202 and held

that the essential unifying characteristics of the listed exemplars are (1) storage, (2)

organization, (3) transport, and (4) protection. Totes, Inc. v. U.S., 69 F.3d 495, 498 (Fed. Cir.

1995); Len-Ron Manufacturing Co. v. U.S., 334 F.3d 1304, 1313 (Fed. Cir. 2003) (“Len-Ron”);


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Avenue in Leather, Inc. v. U.S., 423 F.3d 1326, 1332 (Fed. Cir. 2005)(“Avenues III”) (quoting

Avenue in Leather v. U.S., 317 F.3d 1399, 1402 (Fed. Cir. 2003)(“Avenues II”); Otter Products

CAFC, 834 F. 3d at 1376.

         To be an eo nomine “camera case,” therefore, the Camera Housing would also need to

store, organize, transport, and protect its item. However, the Camera Housings are not designed

for and do not accomplish these purposes because they do not (1) put an inactive camera away

into storage; (2) they do not effectively transport an inactive stored camera; (3) they do not

organize multiple stored items; and (4) they do not protect as a camera case would.

         A Camera Housing is bespoken to a single action camera, and the camera remain fully

functional while enclosed in these Camera Housings. Such housings are necessary for the

operation of the camera underwater and in all of its intended situations involving mounted,

hands-free action camera filming. As primarily functional items, the Camera Housings are

substantially different in character from all items described as “travel goods” in Chapter 42,

and by this specific eo nomine provision for “camera cases”.

                        a)      The Camera Housings Do Not “Store” Items

         The Camera Housings do not possess the essential characteristic of “storing.”

         The requirement is that an item “stores” away, such that it is not in use. Otter Products

CAFC, 843 F.3d at 1379-80 (affirming the CIT,“[s]pecifically, the Court of International Trade

noted that the common understanding of “store” implies setting something aside – ‘[i]t does

not include present use but looks toward using whatever item is stored in the future.”) Hence,

the exemplars of 4202 share “the inability to use the items when inside those containers.” Id.

at 1374, citing to Otter Products, 70 F. Supp. 3d 1287, 1292 (C.I.T. 2015) (“Otter Products

CIT”).

         Whether the items within camera case are in use or not, is therefore an indicia of

whether they are being “stored.” As was shown by the importer Otter Products, LLC, and



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acknowledged by both the CIT (Otter Products CIT, 70 F. Supp. at 1292) and Federal Circuit

(Otter Products CAFC, at 834 F. 3d at 1380), none of the articles listed in heading 4202 permit

use of the enclosed items. See, Otter Products, LLC v. U.S., Case No. 1:13-cv-00269-CRK

(Otter Products CIT), Docket No. 25-2, Ex. F (expert declaration) (“trunks” are designed such

that one cannot actively use (or even see) the items in the trunk while those items are inside the

trunk; “suitcases” are not designed in a manner that would allow a person to wear or otherwise

use the items in the suitcase (or even see such contents) while those items are inside the

suitcase; “vanity cases,” “attaché cases and briefcases,” and “school satchels” are all designed

and manufactured to hold a number of items when those items are not being used; “spectacle

cases” are designed and manufactured such that one cannot use spectacles while in the case;

“binocular cases” are designed and manufactured such that one cannot use binoculars while in

the case; “musical instrument cases” are designed such that one cannot play the instrument

while it is inside the case; “camera cases” are designed and manufactured to hold a camera

when it is not being used; cases are designed such that one cannot use a camera while it is

inside the case; “gun cases” are designed and manufactured such that one cannot fire the gun

while it is inside the case; “holsters” are designed and manufactured such that one cannot fire

the gun while it is inside the holster.)

        The CIT then incorporated this evidence, and used it as the basis for its opinion, “[t]he

exemplars “trunks, suitcases, vanity cases, attaché cases, briefcases, school satchels, spectacle

cases, binocular cases, camera cases, musical instrument cases, gun cases, holsters” are not

ones which permit the use of the enclosed item.” Otter Products CIT, 70 F. Supp. at 1292. In

ruling that cell phones remain fully functional while inside the Otter Products’ phone cases,

the CIT stated that “retaining 100% functionality is inconsistent with ‘storing’” and thus

beyond the reach of heading 4202. Id. at 1294. The Federal Circuit affirmed. Otter Products

CAFC, at 834 F. 3d 1379-1380.



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       Here, the Camera Housings are not only designed to allow a user to make full use of

the action cameras (SUMF 32), but they are also designed to enable and enhance that use.

SUMF 19-21, 24-25. Indeed, a camera cannot function in the specific dynamic environments

it is designed to be used in (e.g., underwater or mounted on the side of a race car or dropped in

a volcano) without the Camera Housing. SUMF 13-14.

       It is undisputed that the Camera Housings are designed for use with an action camera

such that the camera retains 100 percent of its functionality and interactivity while inside the

Camera Housing. SUMF 32. The user can power on the in-housed camera, trigger its

operation, and manipulate all functions and settings, while viewing all camera display readouts.

It is undisputed that the Camera Housings : (1) interface with the operational control buttons

of the action cameras (SUMF 20); (2) mate an aluminum heat sink to the action camera in

order to dissipate camera generated heat into the environment (vis-à-vis the flat optional glass

assembly of the housing) (SUMF 25); (3) merge optically with the camera lens (SUMF 19);

(4) add additional features necessary to action camera photography by means of optical

coatings (i.e., antifog, water-shedding, UV-resistance, and anti-glare) (SUMF 19); (5) secure

the camera within (particularly in the ability to resist inadvertent opening caused by high

pressure during underwater photography) (SUMF 17, 21); and (6) add the ability to mount the

camera in a vast array of locations (such as from the outside of an airplane, to the bow of a

surfboard, or to the back of a running dog) to accomplish action camera photography (SUMF

10, 11, 12, 24); and (7) in most instances, allow for underwater, or even deep sea immersive

recording (SUMF 8, 27, 28). It is undisputed that the principal purpose of the Camera Housing

lies in this functionally and interactivity during the camera’s use. SUMF 33, Ex. N, Expert

Decl., par. 32.




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       It is also undisputed that the Camera Housings are not principally intended as a storage

solution for the action camera; in fact, GoPro’s CASEY line of camera cases was developed

for that explicit purpose. SUMF 33-34, 47, 48, Ex. N, Expert Decl., par. 6, 28, 29.

       It is undisputed that if the Camera Housings are used as a primary storage solution, the

Camera Housing lens assembly (and their optical coatings) would be susceptible to dust,

scratches, and drops damages, potentially rendering the action camera unusable or unsuitable

for use. SUMF 36, 37, Ex. N, Expert Decl., par. 37, 41. And it is undisputed that the power

and operational buttons may be inadvertently activated if stored and transported in the housing,

leading to battery failure and memory overwrites, and that the buttons themselves would be

exposed to an accumulation of dirt and grim. SUMF 38, Ex. N, Expert Decl., par. 37, 41.

       The government has taken the position that residual storage nevertheless occurs in the

housing as a type of fugitive use which is either part and parcel of filming, or between filming,

or otherwise (i.e., despite the fact that camera housing is not designed or intended as GoPro’s

storage solution for cameras, mounts, and accessories). See, Ex. D, Government’s Responses

to First Interrogatories, No. 2, at p. 3. This position is misplaced. For example, in Len-Ron,

the Federal Circuit determined that vanity cases were classified in 4202 because “any article

so classified must have the “containing, carrying, or organizing” of cosmetics as its

“predominant use.” GRK Canada, 761 F.3d at 1358 (citing Len–Ron 334 F.3d at 1311)

(Fed.Cir.2003) (emphasis added). Whereas in Camelbak Products, LLC. v. U.S., 649 F.3d

1361 (Fed. Cir. 2011) (“Camelbak”), the Federal Circuit determined that hydrations packs

(which are also carried on the back with straps and contain storage spaces), are nevertheless

still not eo nominee backpacks due to their additional hydration functions. Such “hydration”

functions are not merely improvements to the core functions of the backpack, but rather,

represent substantial difference from those functions.       Likewise, as further discussed in

subsection 3, supra, at p. 23, even if there were a latent storage function inherent in functional



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Camera Housing, those Housings are still substantially beyond the scope of heading 4202 in

terms of their functionality.

          Here, all available record evidence demonstrates that the predominant use (including

design, purpose, and marketing) of the Camera Housings is not oriented for camera storage,

but rather for function to enable action camera footage (by means of adjustable mount

interfaces, optics, waterproofing, pressure resistant latches, control interfaces, heat dissipation,

etc.).

                        b)      The Camera Housings Do Not “Organize” Multiple Items.

          Another fundamental characteristic of the exemplars in heading 4202 is the ability to

organize multiple items while they are placed in storage. Otter Products CAFC, 834 F.3d at

1379 (stating that the importer presented sufficient evidence that “[c]amera cases often contain

extra lenses, batteries, cables, and memory cards. Binocular cases often contain straps,

cleaning cloths, lens caps, and other accessories. Gun cases and holsters may contain multiple

guns and rounds of ammunition[]” and that the same is true for the other exemplars in Heading

4202.)

          Unlike the camera cases, however, the Camera Housings do not place multiple items

into long term storage between uses. It is undisputed that the Camera Housing is bespoke to a

single functional GoPro HERO action camera. SUMF 16.

          The government may attempt to assert “organization” is present due to the presence of

tiny desiccant strips and enhancement modules that can be optionally incorporated into certain

models of the Camera Housings. Ex. D, Government’s Responses to First Interrogatories, No.

1 at pp. 2-3. Government’s position is unavailing.

          Some but not all Camera Housings feature tiny slots into which a user may opt to place

tiny 2-millimeter-thick strips made out of a desiccant material (“Anti-Fog Inserts”) that absorb

excess moisture from the air within the housing during active filming in wet/humid conditions,



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to prevent undesirable condensation. SUMF 30. The Camera Housings do not “store” or

organize” the desiccant inserts – they are only used during active filming in wet conditions.

Undisputed testimony establishes that if the Anti-Fog Inserts are left in the camera housing

(which is subject to opening and closing to access the battery and memory), they can quickly

become fouled due to their exposure to new humidity. The Inserts are therefore sold with their

own storage bag which is tailored to the product by being made from a flexible durable airtight

(“Ziploc”-type) bag that can remove air from the sealed chamber. SUMF 30, Comp. Ex. A7,

physical sample.

       The earlier models of the GoPro action cameras can be optionally enhanced with

modular add-ons camera parts called “BacPacs.” SUMF 31. Because earlier camera models

are smaller and have no display in the back, a larger camera battery or a rear liquid crystal

display can be added. It is undisputed that the BacPac module plugs into the action camera via

physical and electrical ports becoming a part of the camera before placement into the housing.

Id. In such situations, the Camera Housing is likewise customized with a larger back door, to

accommodate the correspondingly larger size of the “enhanced” action camera. Id. It is

undisputed that these BacPac items physically and electrically connect to the HERO action

camera – merging with the camera itself – and are used during active filming. SUMF 31.

Hence, if a BacPac item is incorporated onto the camera, then the housing still only contains

one operational camera (albeit with a larger battery or with an LCD back screen). Moreover,

BacPac devices have to be removed for the user to gain access to the battery and memory and

these BacPac devices contain delicate electrical connectors. Id. Therefore, these BacPacs are

not meant to be “stored” in the housing. It is undisputed that each BacPac is sold with its own

hard-sided plastic storage case that is again specifically designed to the product. Id. The

BacPac storage cases are molded to the item and hence, protect the delicate electrical




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connectors. Id., Comp. Ex. A8, A9, physical samples of Battery BacPac and LCD BacPac and

their storage containers.

       Even if disputed, these issues do not rise to a genuine issues of material fact, because

application of heading 4202 is precluded on the basis of the principal functionality of the

camera housing.

                       c)     The Camera Housings Do Not “Carry” Items

       The next unifying characteristic of the exemplars of heading 4202 is the ability to carry

or transport the items being held. Otter Products CIT, 70 F. Supp. 3d at 1293; Otter Products

CAFC, 834 F.3d at 1380. In Otter Products, both the CIT and Federal Circuit agreed that each

exemplar allows for transport while various items are stored away and not being used.

       It is undisputed that “camera cases” do typically have a handle, or straps, or wheels

designed to assist in the carrying of the item(s) being held. SUMF 45. The GoPro CASEY

for example is a camera case that does include a carrying handle. SUMF 47, Comp. Ex. A6,

physical sample. In contrast, the Camera Housings do not have the handles or straps necessary

for such a carrying purpose. SUMF 23.

       The Government has expressed its position that since the Camera Housings facilitate

mounting and securing (for the purposes of filming), that should be sufficient to satisfy the

“carrying” function that a “camera case” would perform. Ex. D, Government’s Responses to

First Interrogatories, No. 3, at p. 3. This position is misplaced. While the Camera Housing

does mount into the GoPro system of mounts (SUMF 12, 24); the purpose is not for “carrying,”

but for filming. As CIT aptly put in Otter Products, “securing is not the same as carrying.”

Otter Products CIT, 70 F. Supp. 3d at 1293. The purpose of the mounting system is to enable

hand-free filming, which is the fundamental premise of action camera videography. SUMF

10-12, 24.




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                       d)     The Camera Housings Do Not “Protect” Items in the Same
                              Manner as a Camera Case

       While the Camera Housings are protective in nature, it does not have the same

protective character as a camera case.

       For example, it is undisputed that the camera cases are often constructed with protective

features such as a rugged exterior material, and internal protective cushioning. SUMF 42. In

contrast, the Camera Housings do not possess either exterior or interior padding. SUMF 22.

The Camera Housings do not feature a protective lens covering for storage or transport of the

action camera. SUMF 29.

       Undisputed testimony demonstrates that camera cases are protective against drop, dirt,

dust, and debris. SUMF 42-43. In contrast, the Camera Housings themselves need to be

protected from such damage. SUMF 36-38. It is undisputed that camera cases (e.g., the GoPro

CASEY camera case) are tested at minimum to a 1-meter drop test. SUMF 42. In contrast,

however, the Camera Housings are subject to potential damage if the optically-coated glass

lenses are dropped onto rough ground, since scratches to the lens could rendering camera

footage unusable. SUMF 37, Ex. N, Expert Decl., par. 36, 37.

       Hence, although the Camera Housings are “protective” and ruggedized for purposes of

action camera filming, they are certainly not protective in the same manner, or for the same

purposes as is a “camera case.”

       3.      The Purpose and Function of the Camera Housings is Inconsistent with the
               Exemplars of 4202, and Different from a “Camera Case”

       The objective of an eo nomine designation is to capture all forms of the articles known

to commerce, even including articles that have “been improved or amplified but whose

essential characteristic is preserved or only incidentally altered.” Casio, Inc. v. U.S., 73 F.3d

1095, 1098 (Fed. Cir. 1996). When speaking of such articles known eo nominee to commerce,




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use has always been of “paramount importance” in reaching commercial meaning. GRK

Canada, 761 F.3d at 1358 (Fed. Cir. 2014) (internal citations omitted).

         Thus, when an article “‘is in character or function something other than as described by

a specific statutory provision—either more limited or more diversified —and the difference is

significant,’” it is not properly classified within an eo nomine provision. Casio, 73 F.3d at

1097 (internal citations omitted). As the Federal Circuit concluded in GRK Canada:

         Therefore, an eo nomine classification within HTSUS must capture all forms of
         a named good, including improvements that do not change the essential
         characteristic of the articles. Consequently, to be workable, HTSUS provisions
         must be defined distinctly enough to allow the classification of improved forms
         of goods —provided that such improvements are not fundamental changes. The
         use of goods may be an important aspect of the distinction of certain eo nomine
         provisions, in particular, where, as here, the name of the provisions refers
         directly to the use of subject articles. This is why, even within the context of the
         HTSUS, we should not be “so trusting of our own notions of what things are as
         to be willing to ignore the purpose for which they were designed and made and
         the use to which they were actually put.”

         GRK Canada, Ltd., 761 F.3d at 1360-61.

         To determine whether such a difference is significant enough to remove an article from

an eo nomine provision, the Federal Circuit has explained that we must look to “‘whether the

item possess[es] features substantially in excess of those within the common meaning of the

term,’” or whether the subject article is “a change in identity of the article described by the

statute.” R.T. Foods, Inc. v. U.S., 757 F.3d 1349, 1354 (2014) (citing CamelBak, 649 F.3d at

1365). In such an analysis, the court’s inquiry should include (1) the subject article’s physical

characteristics, as well as what features the article has for typical users, (2) how it was designed

and for what objectives, and (3) how it is marketed. Id. at 1367–69; GRK Canada, 761 F.3d at

1358.

         For example, in CamelBak, the Federal Circuit found that hydration packs were not

merely “improved backpacks” precisely because their principal purpose was substantively

different from that named provision. CamelBak, 649 F.3d 1361. As explained by the Federal




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Circuit, the “hydration component of the subject articles was not merely incidental to the cargo

component but, instead, provided a unique identity and use that removes them from the scope

of the eo nomine backpack provision.” Id. at 1369 (emphasis added).

       Here, it is undisputed that the Camera Housings (1) do physically work together with

the action cameras, (2) are designed to function during action camera filming, and (3) are

marketed towards the purpose of action camera footage (rather than as a storage and carrying

solution). SUMF 8, 10-12, 17, 19-21, 24-25, 27, 28, 35. It is further undisputed that the subject

merchandise is designed for active use in conjunction with action camera filming. Id. The

camera cases are explicitly for storage and organization, and do not themselves play a

functional role in photography, whereas Camera Housings are not designed to put multiple

goods into long-term storage for the purpose of their organization and transport. SUMF 33,

43-46. It is undisputed that the principal purpose of the Camera Housing is for its functional

use with the action camera during filming. SUMF 33.

       In fact, the because the Camera Housings are not adequate for long term storage and

cannot organize the camera system while in storage, GoPro developed and markets a line of

CASEY camera cases which do meet all of the essential characteristics of heading 4202.

SUMF 33-34, 47, 48, Ex. N. Expert Decl., par. 6, 28, 29. The difference between the CASEY

and the Camera Housings boils down to function and is readily apparent from the character of

the goods themselves.

       Ample uncontroverted evidence which supports the legal conclusion that Camera

Housings do possess a unique identity and use that is distinct from a camera case of heading

4202 exists. As in Camelbak, the Camera Housings hold a unique identity and unique uses,

which remove them from the scope of “camera cases.” The Camera Housings are therefore

not eo nomine “camera cases” as commonly and commercially understood and do not belong

in heading 4202.



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        C.      The Camera Housings Are Not Classifiable as “Similar Containers” of
                Heading 4202

        Interpreting the term “similar containers” requires an ejusdem generis analysis to

determine if the goods are “of the same kind” as those listed in the heading. Otter Products

CAFC, 834 F. 3d at 1376. In classification cases, ejusdem generis requires that, for any

imported merchandise to fall within the scope of the general term or phrase, the merchandise

must possess the same essential characteristics or purposes that unite the listed exemplars

preceding the general term or phrase. Avenues III, 423 F. 3d at 1330.             As detailed above,

because the Camera Housings’ essential characteristics and primary purpose are to enable the

functioning of the GoPro action camera underwater or during extreme activities, and not to

store, organize, or carry the action camera, an ejusdem generis analysis necessarily fails. The

subject merchandise is therefore excluded from classification as “similar containers” in the

heading 4202, HTSUS.

IV.     The Subject Merchandise is Properly Classified in Heading 8529 as “Parts”

        The Camera Housings are prima facie classifiable under heading 8529 as a “part” of a

GoPro action camera as they are (1) designed solely and exclusively as a part of the GoPro

action camera system, (2) hold no function outside of their use within GoPro action camera

system, nor (3) are the cameras intended for independent use without these housings.

        Qualification for a parts provision may involve a two-pronged approach under the

Willoughby and Pompeo cases. Bauerhin Techs. Ltd. Pshp. v. U.S., 110 F.3d 774 (Fed. Cir.

1997). 6 In 1933, the Willoughby court, determined a part must be “an integral, constituent, or

component part, without which the article to which it is to be joined, could not function as such




6
   Although Bauerhin addressed a different parts subheading of the HTSUS, it is nevertheless broadly
applicable to all parts subheadings, as Additional U.S. Rule of Interpretation 1(c) provides a universal
interpretation for all parts provisions. Consequently, under that precedent, the Camera Housings are
“parts” of the GoPro camera.


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article.”       U.S. v. Willoughby Camera Stores, Inc., 21 C.C.P.A. 322, 324 (1933). Under

Willoughby, a product may be considered a part if it is necessary to the intended operation of

the good to which it was attached. Id.

        In 1955, the Pompeo court created a new analysis when it held a “part” was an item

“dedicated irrevocably” to its use. 8 U.S. v. Pompeo, 43 C.C.P.A. 9, 13 (1955). In 1960, the

rule in Willoughby was expressly limited “to fact situations of the precise type which the court

had before it.” Gallagher & Ascher Co. v. U.S., 52 C.C.P.A. 11, 15–16 (1964) (internal citation

omitted).

        In 1997, Bauerhin integrated both the Willoughby and Pompeo approaches. The

Bauerhin court explained that because the camera tripods discussed in Willoughby could be

used for many purposes the Willoughby decision had not addressed “the situation where an

imported item is dedicated solely for use with an article.” Bauerhin at 779. The Bauerhin

court was assessing whether canopies for car seats might be parts of those seats. The Federal

Court determined that while not per se necessary (per Willoughby) for the intended function of

the car seat, a canopy was nevertheless a part for the seat because it (1) “serve[d] no function

that is independent of the child safety seat” and also, (2) the canopies were “undisputedly

designed, marketed, and sold to be attached to the child safety seats” per Pompeo. See,

Bauerhin, 110 F.3d at 779. Hence, Bauerhin stands for the proposition that the two-pronged

framework in which the Willoughby test is not exclusive:

        We conclude that these cases are not inconsistent and must be read together. As
        set forth in Willoughby Camera, an “integral, constituent, or component part,
        without which the article to which it is to be joined, could not function as said
        article” is surely a part for classification purposes. 21 C.C.P.A. at 324. However,


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  See, Willoughby, 21 C.C.P.A. 322, 324 (quoted in Bauerhin, 110 F.3d 774, 779). On that basis, the
court in Willoughby found that a camera tripod could not be considered a camera “part.” Id.
8
   In Pompeo, the CCPA determined that a “supercharger” designed for after-market installation in an
automobile could be considered a “part”, despite the fact that the automobile was fully functional
without the supercharger, because the supercharger was “dedicated irrevocably for use” with
automobiles.


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       that test is not exclusive. Willoughby Camera does not address the situation
       where an imported item is dedicated solely for use with an article. Pompeo
       addresses that scenario and states that such an item can also be classified as a
       part.

       Bauerhin, 110 F.3d at 779 (1997) (emphasis added).

       Here, the Camera Housings are designed only for use with the GoPro HERO action

cameras (and the cameras – for their housings). The Camera Housings are not like the tripods

in Willoughby in that they are not used across multiple brands of cameras, or with other devices

such as azimuths, levels, optical telescopes, sights, etc.

       The Camera Housings are necessary and integral to the intended use of the camera as

an “action camera” within GoPro’s system of action camera filming, including being (a)

necessary and integral to the operation of these specific action cameras (SUMF 8, 12-14, 17,

19-21, 25, 27, 28); and (b) being necessary and integral as the interface between the action

cameras and their mounting systems. SUMF 12, 24.

       Unlike Rollerblade, where protective skate pads were not physically attached to, and

did not act directly upon the skates, the Camera Housings do directly attach and do functionally

interact with the cameras. Rollerblade, Inc. v. U.S., 282 F.3d 1349, 1353 (Fed. Cir. 2002). The

Camera Housing interfaces with the control features of the action camera (SUMF 20), with the

optics of the action camera (SUMF 19), and even with the heat dissipation system of the action

camera (SUMF 25) to facilitate action camera recording. The waterproofing features improve

the function of the camera, and are necessary to action camera photography in snow, rain, surf,

swim, underwater activities, and the like. SUMF 28.

       Having already been designed for bespoke fit to facilitate this direct functionality with

specific GoPro action cameras, the Camera Housings are then marketed and sold to consumers

solely for such functional use with these action cameras. SUMF 12, 16, 32, 33. The Camera

Housings are neither intended as a storage solution, nor marketed as such. SUMF 35. As far

as storage solutions are concerned, GoPro actively markets its CASEY camera cases to satisfy


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the need for organizing and transporting multiple items in a safe storage travel case. SUMF

47-48.

         For the foregoing reasons, the oddly shaped Camera Housing are physically unsuitable

as storage solutions. Therefore, any attempt on GoPro’s part to market the camera housing as

such a travel case solution would only undermine GoPro’s credibility, and such marketing

would be contrary to the marketing of its own CASEY line of camera cases.

         As is analogous to the car seat canopies in Bauerhin, the superchargers in Pompeo, and

even with the ‘universal’ tripods discussed in Willoughby, the Camera Housings meet both

prongs of analysis and are therefore “parts” of the GoPro HERO cameras, prima facie

classifiable under heading 8529 as camera parts.

         A parts determination is further consistent with Section XVI, Note 2(b), which requires

that insofar as parts of machines classified in Chapter 85 are concerned:

         (b) Other parts, if suitable for use solely or principally with a particular kind of
         machine, or with a number of machines of the same heading (including a
         machine of heading 8479 or 8543) are to be classified with the machines of that
         kind or in heading 8409, 8431, 8448, 8466, 8473, 8503, 8522, 8529 or 8538 as
         appropriate...

         Section XVI, Note 2(b), HTSUS (emphasis added).

         The appropriate subheading would therefore be 8529.90.8600.

         Subsequent models of the GoPro HERO action cameras (Hero5 to Hero 10) have

integrated the Camera Housing functions (waterproofing, durability, mountability, etc.) into

the body of the camera. SUMF 15.            The HERO9 has been submitted to the Court as an

example of this “integrated” housing. See, Comp. Ex. A11(physical sample). This integration

establishes that the functionality of the Camera Housings from earlier models were, in fact,

integrated directly into the camera as camera functions. The principal function of the Camera

Housings are therefore functions that are de facto necessary and integral to action camera

filming.



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       Based on the foregoing, GoPro respectfully submits that the Camera Housings are

classifiable under subheading 8529.90.8600, as parts of digital video cameras. The Camera

Housing is not a “camera case” for the storage and organization of the action camera system

when it is inoperable. Rather, the Camera Housing is an active, integral, indispensable, and

functional part of the HERO action camera system and indeed to the action camera itself.

V.     Alternatively, the Subject Merchandise is Properly Classified in Heading 3926 as
       “Other Articles of Plastics”

       Alternatively, if the Camera Housings are not “parts”, then they would be classifiable

under the basket provisions of Heading 3926 as “[o]ther articles of plastics and articles of other

materials of headings 3901 to 3914.”

       The Camera Housings are predominantly composed of polycarbonate plastic. SUMF

18. In the event the Court finds that the Camera Housings are not classifiable in heading 8529,

HTSUS, they should be classified according to their material composition, in heading 3926,

which provides for: “[o]ther articles of plastics and articles of other materials of headings 3901

to 3914.” Since none of the specific subheadings apply, the goods would be classified in the

residual basket provision found at 3926.90.9990.

       Chapter 39 Note 2(s) excludes articles of Section XVI; hence, if the Camera Housings

do qualify as “parts”, they would be excluded from Chapter 39, and are also more specifically

described as parts within Chapter 85, rather than either Chapters 39 or 42.

                                        CONCLUSION

       Because the subject merchandise is not classifiable in heading 4202, HTSUS, it should

be classified in heading 8529, HTSUS, or, alternatively, in heading 3926, HTSUS.

       For the foregoing reasons, GoPro respectfully requests the Court hold that the subject

merchandise is correctly classified under subheading 8529.90.86 or, alternatively, under

subheading 3926.90.99, HTSUS.




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       GoPro paid all duties at the time of entry at the 4202 rate of 20 percent ad valorem.

Because the proper rate is zero percent (per 8529.90.8600) or, alternatively, 5.3 percent (per

3926.90.99), GoPro requests refund of the difference across all subject entries, inclusive of

interest accruing.

         Dated: August 5, 2022                         Respectfully submitted,

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                               CERTIFICATE OF COMPLIANCE

             Pursuant to the Chambers Rules of the Court of International Trade

       The undersigned, counsel for Plaintiff, GoPro, Inc., hereby certifies that, in compliance

with the Chambers Rules of this Court, the foregoing Memorandum of Law in Support of

Plaintiff GoPro, Inc.’s Motion for Summary Judgment is prepared using Microsoft Word, and

contains 10,045 words, which does not include the tables.

       This supporting memorandum therefore complies with the rule, which limits a brief to

14,000 words. The undersigned certifies that the document was prepared in Microsoft Word,

and that this is the word count Microsoft Word generated for this document.

Dated: August 5, 2022

                                             Respectfully submitted,

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